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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT CoURT

To:

Date:

RUTH DUARTE
PlaintijjF
V

ST. BARNABAS HOSP|TAL

Defendant

The clerk of court and all parties of record

for the
Southern District of New York

APPEARANCE OF COUNSEL

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15 C|V 6824 (PGG)

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

plaintiffl Ruth Duarte.

03/21/2018

Attorney '.s signature

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